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UNITED STATES DISTRICT COURT
MlDDLE DISTRICT 01= FLORIDA gm ,,_¢-, .\ , n
Jacksonville Division _ ' ""` P~ ¢;'-' f l

 

 

Latifah Banks
Civil Action No:
Plaimiff(s), 3\\1-¢\/-\\!»-5'-65?03
COMPLAINT
_v__

Financial Business and Consumer Solutions, lnc.
d/b/a/ FBCS, INC.

Defendant.

 

 

Plaintiff Latifah Banks ("Plaintiff" or “Banks”) by and through her attorneys, RC Law
Group, PLLC, as and for its Complaint against Defendant Financial Business and Consumer
Solutions, Inc. d/b/a FBCS, lnc., ("Defendant") respectfully sets forth, complains and alleges, upon

information and belief, the following:

INTRODUCTION/PRELIMINARY STATEMENT
l. Plaintiff brings this action for damages and declaratory and injunctive relief arising
from the Defendant's violation(s) of section 1692 et. seq. of Title 15 of the United States Code,

commonly referred to as the Fair Debt Collections Practices Act (“FDCPA”).

PARTIES
2. Plaintiff is a resident of the State of Florida, County of Duval, residing at 6057

Maggies Circle, Unit 108, Jacksonville, FL 32244.

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3. Defendant is a debt collector with a mailing address of 330 S. Warminster Rd., Suite
353, Hatboro, PA 19040.
4. Defendant is a "debt collector" as the phrase is defined in 15 U.S.C. § 1692(a}§6) and

used in the FDCPA.

JURISDICTION AND VENUE
5. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, as well as
15 U.S.C. § 1692 et. seq. and 28 U.S.C. §2201. If applicable, the Court also has pendant
jurisdiction over the State law claims in this action pursuant to 28 U.S.C. § l3671a1.

6. Venue is proper in this judicial district pursuant to 28 U.S.C. § l391§b)(21.

FACTUAL ALLEGATIONS

7. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as
though fully state herein with the same force and effect as if the same were set forth at length
herein.

8. On information and belief, on a date better known to Defendant, Defendant began
collection activities on an alleged consumer debt from the Plaintiff (“Alleged Debt”).

9. This debt was incurred as a financial obligation that was primarily for personal,
family or household purposes and is therefore a “debt” as that term is defined by 15 U.S.C.
§ 1692a(5).

10. On or around March 10, 2016, Defendant sent a collection letter to Plaintiff.

ll. In the first paragraph of the letter Defendant states the “Account Balance on the

Alleged Debt is $13,429.23 (may include interest and fees).”

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12. This language is misleading and deceptive because it does not set forth the principal
balance of the Alleged Debt and what portion is collection fees and interest.

13. Defendant’s letter fails to state whether or not interest and fees will continue to
accrue. The failure to explicitly state so would lead one to imply that interest and fees will
continue to accrue until the debt is settled. However, if that is the case, that interest and fees
will continue to accrue during the collection process, the collection letter must explicitly state

so accordingly.

A reasonable consumer could read the notice and be misled into believing that she could
pay her debt in full by paying the amount listed on the notice. In fact, however, if interest
is accruing daily, or if there are undisclosed late fees, a consumer who pays the "current
balance" stated on the notice will not know whether the debt has been paid in full. The
debt collector could still seek the interest and fees that accumulated after the notice was
sent but before the balance was paid, or sell the consumer's debt to a third party, which
itself could seek the interest and fees from the consumer.

Because the statement of an amount due, without notice that the amount is already
increasing due to accruing interest or other charges, can mislead the least
sophisticated consumer into believing that payment of the amount stated will clear her
account, we hold that the FDCPA requires debt collectors, when they notify consumers
of their account balance, to disclose that the balance may increase due to interest and
fees. We think that requiring such disclosure best achieves the Congressional purpose of
full and fair disclosure to consumers that is embodied in Section l692e. It also protects
consumers such as plaintiffs who may hold the reasonable but mistaken belief that timely
payment will satisfy their debts. (Emphasis Added)

Avila v. Riexinger & Assocs., LLC, 817 F.3d 72, 76, 2016 U.s. App. LEXIS 5327, *6-7
(2d cir. N.Y. 2016)

14. Furthermore, if the account is including interest and fees, the balance claimed due
and owing in the collection letter may not be the amount due at the time of payment because
of additional interest and fees applied to the account.

15. As a result of Defendant's deceptive, misleading and unfair debt collection

practices, Plaintiff has been damaged.

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FIRST CAUSE OF ACTION
(Violations of the FDCPA)

l6. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as
though fully stated herein with the same force and effect as if the same were set forth at length
herein.

17. Defendant's debt collection efforts attempted and/or directed towards Plaintiff violate
various provisions of the FDCPA, including but not limited to to 15 U.S.C. M, 1692e( lO),
UZ_f and l_6_9_2a.

18. As a result of the Defendant's violations of the FDCPA, Plaintiff has been damaged
and is entitled to damages in accordance with the FDCPA.

19.

PRAYER FOR RELIEF
WHER.EFORE, Plaintiff Latifah Banks demands judgment from Financial Business and Consumer
Solutions, Inc. d/b/a FBCS, lnc., as follows:

a) For actual damages provided and pursuant to 15 U.S.C. § l692k(a11 1;

b) For statutory damages provided and pursuant to 15 U.S.C. § l692k¢2)¢A);

c) For attorney fees and costs provided and pursuant to 15 U.S.C. § l692k(a)§3);

d) A declaration that the Defendant’s practices violated the FDCPA; and

e) For any such other and further relief, as well as further costs, expenses and

disbursements of this action as this Court may deem just and proper.

Dated: Hackensack, New Jersey
January 19, 2017

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/s/ Michael lay Ringelheim
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